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                   IN THE UNITED STATES DISTRICT COURT FOR THE
                              EASTERN DISTRICT OF VIRGINIA


                                        Alexandria Division


 Antonio C. Garibaldi,                            )
       Plaintiff,                                 )
                                                  )
 V.                                               )            l:17cvl000(AJT/TCB)
                                                  )
 Dr. Villasis and Dr. Haydu,                      )
        Defendants.                               )

                                    MEMORANDUM OPINION


          Antonio C. Garibaldi, a Virginia inmate proceeding pro se,filed this civil rights action

 pursuant to 42 U.S.C, § 1983, alleging that he suffered deliberate indifference to his serious

 medical needs with regard to dental care he received at Virginia Beach Correctional Center

("VBCC"). The matter is presently before the Court on an unopposed Motion for Summary

 Judgment filed jointly by defendants Juan Villasis, D.D.S., and James Haydu, D.D.S. For the

 reasons which follow, the Motion for Summary Judgment will be granted.

                                           I. Background

          Plaintiff commenced this lawsuit in September,2017, alleging that dental care provided

 to him at VBCC by Drs. Villasis and Haydu violated his rights under the Eighth Amendment.'

 Because the initial complaint was not signed. Garibaldi was directed to submit a copy bearing his

 signature, in accordance with Rule 11, and he submitted a signed Amended Complaint on

 October 24,2017.[Dkt. No. 5] Briefly, Garibaldi alleges in the Amended Complaint that in

 December,2016, he was placed on antibiotics because one of his teeth had become decayed and

 infected. Id. §IV p.l. A lump developed over his eye and a medical doctor prescribed a different


      'Plaintiff noticed a change ofaddress to Nottoway Correctional Center in October,2018.[Dkt.
 No. 24]
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